Case 1:18-cv-00993-LTS-SLC Document 504-2 Filed 06/14/23 Page 1 of 30
21 of 24

EXHIBITS

PLAINTIFF”S STATEMENT OF FACTS NO. 15 NO. 16 and__ NO. 17

EXHIBIT #1 A Norb Novocin Deposition Sept. 21, 2022 Page 38 A. Trombetta signature is
“garbled and_kinda hard to read”.

EXHIBIT #1 B Norb Novocin Deposition Sept. 21, 2022 Page 52 could not discern first
initial and Plaintiff’s last name.

EXHBIT #1 C Norb Novocin’s Sept. 21, 2022 Deposition Page 47 “A. Trombetta signature
photo “ only surviving photos from the alleged 2012 ad. PI.Evid 000163.

EXHIBIT #1 D Norb Novocin’s Sept. 21, 2022 Deposition Page 31- 32, and pages 83 to 86,
regarding noted Tear” in the painting and Norb Novocin admission
there is no visible Tear in his photo entered into discovery or his
knowledge of any restoration

EXHIBIT #2 A Signatures by EAI and Plaintiff ’s childhood handwriting.
#2 B Pages 8 and 9 eBay Phone Transcript and Pl. Evid. 000144 and 000158.
#2 C Norb Novocin Phone Transcript page 3 -signed Annamarie Trombetta

PLAINTIFF”’S STATEMENT OF FACTS NO. 3
EXHIBIT #3 Plaintiff Evid. 000072 Jan. 2015 email from Susan (Sudha) Goldstein
EXHIBIT #4 Plaintiff Evid.000073 Notarized Letter Susan Goldstein-Lost sale of artwork

EXHIBIT #5 Plaintiff Evid. 000074 Scott Goodwillie Letter/Email loss of interested
gallerists in Plaintiff’sartwork due to the EAI auction ad on WorthPoint’s

website.

EXHIBIT #6 Plaintiff Evid. 000075 Dr. Joseph Scelsa Letter/Email Fraudulent ad and
oil painting Jeopardizing Plaintiff’s future chances to exhibit at Italian
American Museum.

EXHIBIT #7 Plaintiff’s Evid. 000052 Plaintiff’s Evid. 000053 Plaintiff’s Evid. 000056
Listing of 1972 Original Oil Painting Man With Red Umbrella Signed with
Plaintiff’s solo - Italian American Museum Exhibit and website link
italianamericanmuseumexhibition On Site Plein air.html—

PLAINTIFF”S STATEMENT OF FACTS NO. 4

EXHBIT #8 000295 SEE ECF 503 SEE EXHIBIT #2 Copyright Deposit Pages in
Plaintff’s Evid. 000119, 000120, 0000121, 000122, 000123, 000124, 000125 and Plaintiff’s

Evid. 000126.
Case 1:18-cv-00993-LTS-SLC Document 504-2 Filed 06/14/23 Page 2 of 30
22 of 24

PLAINTIFF”S STATEMENT OF FACTS NO.5 and NO. 6
EXHIBIT #9 Plaintiff. Evid. 000149, 0000150 and 000151

PLAINTIFE”’S STATEMENT OF FACTS NO. 8

EXHIBIT #10 Plaintiff Evid. 000022 -Plaintiff Evid. 000023-Plaintiff Evid. 000024
Plaintiff Evid. 000026 -Plaintiff Evid. 000028 Plaintiff Evid. 0000%28 B

PLAINTIFF”S STATEMENT OF FACTS NO. 9

EXHIBIT #11 Plaintiff Evid. 000058 -Plaintiff Evid. 000059 - Plaintiff Evid. 000060
Plaintiff Evid. 000062A Plaintiff Evid. 000063 Plaintiff Evid. 000064
Plaintiff Evid. 000065 Plaintiff Evid. 000066 Plaintiff Evid. 000067
Plaintiff Evid. 000068

PLAINTIFE”’S STATEMENT OF FACTS NO. 10

EXHIBIT #12 Plaintiff’s Evil. 000285 and 000286 and Plaintiff’s Evil. 0000021
Plaintiff’s Evil. 000023 Plaintiff’s Evil. 000025 Plaintiff’s Evil. 000027

EXHIBIT #13 Phone Transcript of Plaintiff and WorthPoint employee Anita Brooks

PLAINTIFF”’S STATEMENT OF FACTS NO. 11
EXHIBIT #14 Phone Transcript of Plaintiff and WorthPoint employee Greg Watkins

PLAINTIFF”S STATEMENT OF FACTS NO. 12

EXHIBIT #15 WorthPoint’s bate stamped evidence in WP000062 WP000096 and
WP000135.

EXHIBIT #16 Plaintiff Evid. bate stamped Will Seippel Feb. 20, 2016 email to Plaintiff
in Plaintiff Evid. 000034 Plaintiff Evid. 000039 and Plaintiff Evid. 000040.

PLAINTIFF”’S STATEMENT OF FACTS NO. 13
EXHIBIT #17 WorthPoint Evid. Jan. 4, 2017 emails WP000132, WP000133, WP000134

PLAINTIFF”’S STATEMENT OF FACTS NO. 14 and NO. 15

EXHIBITS # 18 A Plaintiff Evid. 000872 Plaintif Yahoo WorthPoint Membership fee
EXHIBITS #18 B Plaintiff Evid. 000158 -000159 Text from 1972 oil painting ad on
WorthPoint webpage with Estate Auction Inc description.
       
         

    

        

 

 

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SS) | Enter ae or use elphobat
oo Annamarie Trombetta gomn:ss

1 Annamarie Trombetta Is active/lives in New York. Annamarie Trombetta is known for geometric still Disc overartanda rt p rices
| | life arrangements-painting,

 

 

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LTS-SLC Document 504-2 Filed 06/14

   

Se a Ee. * Auction records and images

4 aot Be Worse tel sr test gC slilekragin) * Record prices, graphs, stats

cen BSS eae oer + Artist signature examples
| Overview © AUCtION Records (oy For Sale ia) Signatures 0) sign in ~ More about subscribing
Biography Upcoming Auctions (0) Wanted 10) Related Artists ' Tr
A) Quick Facts What's my art worth? Dealers ic} Publications sK

— Get Alerts - Charts Place an Ad Samples of work ss ,
e —
2 Oo
2 Biography ANnnamarie Tromberta —.
> The nature of an artist's life, creativity and growth may be synonymously expressed in the image of an = 4 Ae
a Sf archetypal tree. Beginning with the earthly descendent roots the artist like the tree branches out into eM.
ey its surrounding environmental and celestial world. Both ascend and descend, widening their girth of
i consciousness while producing visual imagery, weathering each season of change. Thus, I believe itis
w the nature of the artist and of nature itself to regenerate and manifest. All of the imagery in this \
@ catalog was either created en plein air or from the subject directly, i
O

My journey to becoming an artist began many years ago. The consanguineous roots of my Italian
family tree provided me with an innate constitution for m_... Displaying 750 of 8277 characters.

 

Plaintiff000149
Case 1:18-cv-00993-LTS-SLC Document 504-2 Filed 06/14/23 Page 4 of 30

Yahoo Mail - Re Annemarie Trombetta
aa (
Re: Annamarie Trombetta \ |

From: Bob Bahr (babahr@yahoo,.com)

To:  trombeitaart@yahoo.com
Date: Thursday, March 5, 2015, 09:53 AM EST 13

Thanks. Very glad you liked it. Yes, that is the right link.

 

 

| will try to send you a PDF later so you have it in that form as well.

 

Hope we can paint together sometime when It's above freezing!

Bob

 

From: Annamarie Trombetta <trombetteari@yahoo,com>

To: Bob Bahr <babahr@yahoo.com>

Sent: Thursday, March &, 2015 9:47 AM
Subject: Annamarie Trombetta j

Hi Bob, é (

Thank you so much for a wonderful article. | have been sharing it with some of my collectors and colleagues
and will do so with many more people. Also thank you for your recommendation for the Ask Artwebsite . | consent
‘oinclude my biography listing to their Site spggsememmmenscss
Can you send me a link that is just this piece or is this the link below?? Also is there a magazine version that |
can purchase,

 

lam please with the work that you selected as one of my collectors expressed her delight as well.
With sincere gratitude,
Annamarie Trombetta

http://www. outdoorpainter. cam/artist-profiles/central-park-s-plein-air-past.html?
utm source=Art+Listautm campaign=f24b0abe29-PAT 3 4 15&utm medium=email&utm term=0 6907c¢7961 -
f24b0abe29-232018861

Plaintiff0001514
Case 1:18-cv-00993-LTS-SLC Document 504-2 Filed 06/14/23 Page 5 of 30

Yahoo Mail - A Big Thank you from Annarmarie Trombetta (, ¢ L = AN7/21, 9:27 PM
A Big Thank you from Annamarie Trombetta ae | C
From: Annamarie Trombetta (trombettaart@yahoo.com)

To: babahr@yahoo.com
Date: Saturday, June 6, 2015, 12:49 PM EDT aA und
Hi Bob. O é

My sincere appreciation for including me once again in Outdoor Painter! I am indeed deli ghted as was
the host of the show to learn that the link and a feature was in the Newsletter for Outdoor Painter.

It is the kind of situation that brings attention not just to me--the Magazine but also to the Hudson River
School Painters who haye done so much for this country's history in art, Parks and conservation.

Last thank you for the recommendation. I am delighted that my bio is now on AskArt-- Mille Grazie

I hope to meet you in person one of these days. Let's plan a meeting if you live in the New York area.
‘Take great care and all the best to you.

Warm Regards,
Annamarie Trombetta L\ We ak
tn

 

iipsy/mail. yahoo.com/d/folders/1/messages/ALZEPSR_OS74YH-2IQNBoAS_ Waa Page lof 1
Plaintiff000150
Yahoo Mail - Re: WARE te WHHHPIMS VorstbmenmtaMasbear ead et O42 Filed 06/14/23 Page 6 of BO. Ann nan

Re: Welcome to WorthPoint - Your Subscription Has Been Created

From: WorthPoint Customer Support (support@worthpoint.desk-mail.com) ih e

To: — trombettaart@yahoo.com
Date: Friday, January 22, 2016, 02:27 PM EST HHP ( LH |

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WorthPoint | Jan 22, 2016 02:26PM EST

Thank you for submitting your request. We have received your request and are working on
responding to you as soon as possible. If you have any additional information to add to this
case, please reply to this email.

Thanks in advance for your patience and support.

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Case 1:18-cv-00993-ETS-SLC Document 504-2 Filed 06/14/23 Page 7 of 30
Yahoo Mail - Fw: Welcome to WorthPaint - Your Subscription Has Been Created Pl ai intiff 000023 8/10/20, 9:14 AM

Fw: Welcome to WorthPoint - Your Subscription Has Been Created

Frome Annamario Trombetta (lirombettaart@yahoo.com) eA

tr Notch my eae oO

Date: Monday, January 25, 2016, 06:35 PM EST
Fe

    
  

fo The Worthpoint Staff,
1 found this link to Worthpoint unded Artist Annamarie Trombetta. The link 1972 is associated with several of my personal and professional links. I signed on to Worthpoiat t:

inting. ‘The worth is $181.50

   
 

1) Who is responsible for posing “1972 Original Oil Painting man with Red Umbrella signed Annamaric ‘Trombetta" information on Worthpoint.com website ??
2)Can I have the name of the person who is the Worthpoint webmaster??

3)Can T have the name of the person who posted this information?

4) Who was the seller?? I called eBay and they do not have the information? Docs Worthpoint have this information??

5) Please confirm if your website was last update on Updeted Date: 30-apr-2013--ses betow
6) Why do you state that there are are 12 photos in the description, Below is the text that is on the page for this painting. Tonly see a photo ofa signature — --see belo
7) Kindly forward any information that you have regarding this painting .
Seen for your a anticipated cooperation.

oxo> UPIN THES AUCTION <c<< 1972 Original Oi! Painting Man With Red Umbrella Signed Annumarie Tronibetta New York Listed Artist « Shabby Chie Condition

DESC RIPTION - Please be patient there arg 12 photos to be loaded in this euction. Up in this auction isa wonderful and delightful ail on canvas painting of aman (I guess it could be aw
umbrelts, This is by Annamarie Tromberte- It is signed on the bottom, but on the back it has written in red on the stretcher, Annamari¢ Trombeita "Gifted 1977, *Painted” 1972, To our eye

the style at Andre Kohn.

1972 Original Oil Painting Man With Red Umbrella Signed ...
wWweewarthpoint.com 1 Worthopedia™ *
1972 Orginal Oil Painting Man With Red Umbrella Signed Annamaria Trombetta yqz
Sold for, Start Free Trial or Sign Into see what it’s worth. Hem Catagory: ... 4
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MY
On Friday, January 22, 2016 2:27 PM_WerthPoint Customer Support <suppert@worhpoint desk-mail.com= wrote: [_\ Y

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WorthPoint| | Jan 22, 2016 02:26PM EST
Thank you fdr submitting your request. We have received your request and are working on responding to you as soon as possible. If you have any additional

to this case, Alease reply to this email.

Thanks in adva

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Case 1:18-cv-00993-LTS-SLC Document 504-2 Filed 06/14/23 Page 8 of 30
Yahoo Mall - Re: Fw: Welcome to WorthPoint - Your Subscription Has Been Created Plaintiff 000024

Re: Fw: Welcome to WorthPoint - Your Subscription Has Been Created

From: WorthPoint Customer Support (support@worthpoint.desk-mail.com)

To:  trombettaart@yahoo.com
Date: Monday, January 25, 2016, 06:34 PM EST | R, ( i / ,

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WorthPoint | Jan 25, 2016 06:33PM EST

Thank you for submitting your request. We have received your request and are working on
responding to you as soon as possible. If you have any additional information to add to this
case, please reply to this email.

Thanks in advance for your patience and support.
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Re: Fw: Welcome to WorthPoint - Your Subscription Has Been Created

From: Annamaria Trambetta (trombettaart@yahoo.cam)
To: — supportGworthpoint.desk-mall.com
Date: Friday, Jarwary 29, 2016, 4:58 PM EST

Ihave contacted Worthpoint by phone and spoke with Anita on Friday January 22nd. I sent ¢-mails three times with a host of questions
found under my name.
I am requesting answers to the questions listed below.

Sincerely, ; 4
Annamarie Trombetta

Ticket #56607:

 

Within this e-mail are several questions that I am requesting are answered as soon as possible.
T sent this to you on Friday January 22, 2016.

To The Worthpoint Staff,
I found this link to Worthpoint under Artist Annamarie Trombetta. The link 1972 is associated with several of my personal and profession:
Worthpoint to see the value of this painting, The worth is $181.50 . See below

1jWho is responsible for posing "1972 Original Oil Painting man with Red Umbrella signed Annamarie Trombetta" information o1

website PP

2)Can I have the name of the person who is the Worthpoint webmaster??

3)Can I have the name of the person who posted this information?

4) Who was the seller?? I called eBay and they do not have the information? Does Worthpoint have this information??

5) Please confirm if your website was last update on Updated Date: 3¢-apr-2013--see below

6) Why do you state that there are are 12 photos in the description. Below is the text that is on the page for this painting, T only

signature -see below

7) Kindly forward any information that you have regarding this painting .

Thankyou for your anticipated cooperation.

soos UP IN THIS AUCTION <xxccr 1972 Original Oil Painting Man With Red Umbrella Signed Annamarie Trombetta New York Listed Artist - Shabby Chie Condition
DESCRIPTION - Please be patient there are 12 photos to be loaded in this auction, Up in this auction is a wonderful and delightful oif on canvas painting ofa man {1 guess it could

umbrella. This is by Annamane Trombette, [tis signed on the bottom, but on the back it has written in red on the stretcher, Annamarie Trombetta “Gifted” 1977, “Painted* 1972. Tos

the style of Andre Kohn.

1972 Original Oil Painting Man With Red Umbrella Signed ...
weewwarthpaint com> Worthopadia™ *

4872 Original Oi Painting Man With Red Umbrolla Signed Annamaria Trambetta yqz.
Sold for; Start Free Trial or Sign In to sea what i's worth, Item Category

On Monday, January 25, 2016 6:24 PM, WorhPoint Customer Support <supponl@wvorthpeint.desk-mail.com> wrote!

WorthPoint | Jan 25, 2016 06:33PM EST

Thank you for submitting your request. We have received your request and are working on responding to you as soon as possible. If you have any addi
to this case, please reply to this email.

Thanks in advance for your patience and support.

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Case 1:18-cv-00993-LTS-SLC Document 504-2 Filed 06/14/23 Page 10 of 30

Yahoo Mail - Re: Fw; Welcome to WorthPoint - Your Subscription Has Been Created PI aintiff 000026

Re: Fw: Welcome to WorthPoint - Your Subscription Has Been Created (5)

From: WorthPoint Customer Support (support@worthpoint.desk-mail.com)

Te: — trombettaart@yahoo.com ;
Date: Friday, January 29, 2016, 05:00 PM EST . RB typ
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WorthPoint | Jan 29, 2016 04:59PM EST

Thank you for submitting your request. We have received your request and are working on
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case, please reply to this email.

Thanks in advance for your patience and support.
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Case 1:18-cv-00993-LTS-SLC Document 504-2 Filed 06/14/23 Page 11 of 30

Yahoo Mail - Fw: Pw: To Gregg or Anita

CHL P5 | (G

Thave been forwarding this e-mail with questions to you since January 22nd. | am trying to find out some information regarding 4 paintir
Worthpoint.com

1/10/2020

   

  

: Annamarie Trombeita (trombetiaart@yahoo.com)

Date, Monday, February 1, 2016, 4:40 PM EST

Within this ¢-mail are several questions that | am requesting are answered as soon as possible.
[ sent this to you on Friday January 22, 2016.

To The Worthpoint Staff,
I found this ink to Worthpoint under Artist Annamaric Trombetta, The link 1972 is associated with several of my personal and profession:
Worthpoint to see the value of this painting. The worth is $181.50 . See below

1)Who is responsible for posing “1972 Original Oil Painting man with Red Umbrella signed Annamarie Trombetta” information o1
website ??

2)Can I have the name of the person who is the Worthpoint webmaster??

3)Can I have the name of the person who posted this information?

4) Who was the seller?? I called eBay and they do not have the information? Does Worthpoint have this information??

5) Please confirm if your website was last update on Updated Data: 30-apr-2013~s28 below

6) Why do you state that there are are 12 photoes in the description. Below is the text that is on the page for this painting. I only
signature --see below

7) Kindly forward any information that you have regarding this painting .

Thankyou for your anticipated cooperation.

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- DESCRIPTION - Please be patient there are 12 photos to be loaded in this auction. Up in thls auatlon 1g. a wonderful and delightful cit on canvas painting of a man (1 gueas It could
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the style of Andre Kohn.

1972 Original Olf Painting Man With Rod Umbrella Signed ...
wwveavorinpointoom + Worthopedia™

4872 Original Oll Painting fdan With Red Umbrella Signed Annamaria Trombetta yqz
Sold for, Slart Free Tria! or Sign in to see what it's worth. tem Category: ...

On Friday, January 29, 2016 5:00 PM, WorlhPoint Customer Support <aupportgiworlhpolal.desk-mall.com= wrote:

Ticket #56607: Re: Welcome to WorthPoint - Your Subscription Has Been Create

WorthPoint | Jan 29, 2016 04:59PM EST

Thank you for submitting your request, We have received your request and are working on responding to you as scon as possible. If you have any addi
to this case, please reply to this email.

| Thanks In advance for your patience and support.

Thie message was sent ba rambettasst@yahag com in reference to Case F54007

| [[e7G8dfitceS6a12630ef1 ScOSf27 1 9f62ecb5676-620588658)]
Case 1:18-cv-00993-LTS-SLC Document 504-2 Filed 06/14/23 Page 12 of 30

Yahoo Mail - Re; Fw; Fw: To Gregg or Anita Plaintiff 000028

Re: Fw: Fw: To Gregg or Anita

Date: Monday, February 1, 2016, 04:42 PM EST

    

Fromm: WorthPoint Customer Support (support@worthpoint.desk-mail.com)
To: trombettaart@yahoo.com ( b i/

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SU) eksKel tl ohio) ain eke =1e\o) Med merce
WorthPoint | Feb 01, 2016 04:41PM EST

Thank you for submitting your request. We have received your request and are working on

responding to you as soon as possible. If you have any additional information to add to this
case, please reply to this email.

Thanks in advance for your patience and support. eet late
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Page 1of 1

 

 
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Re: Artist Annamarie Trombetta----Fraudulent Artwork--and links to Fraudulent Artwork

From: WorthPoint Customer Support (support@worthpoint.desk-mail.com)

To: — trombettaart@yahoo.com
Date: Saturday, February 20, 2016, 10:25 AM EST P, - a
V\O (EEE

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WorthPoint | Feb 20, 2016 10:24AM EST

Thank you for submitting your request. We have received your request and are working on
responding to you as soon as possible. If you have any additional information to add to this
case, please reply to this email.

Thanks in advance for your patience and support.
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Case 1:18-cv-00993-LTS-SLC Document 504-2 Filed 06/14/23 Page 14 of 30

Plaintiff 000058

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Page 3 of shout 28,400 resulls (1.13 secomls}

Holistic Baby Acupressure System: 12 Acupressure Points for ...

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Jennifer Cheliis Taveras, LAc. - 2074 - Heallin & Fitness 5
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Baby logo image, Shewas able ta manifest my idea into a ...

12 Acupressure Points for Pediatric Sleep improvement and Weliness _.
https://books.google. com/books 7ishn=149904 7398

Jennifer Chetis Taveras, LAs, - 2074 - Acupressure for chilean

lt was to my artist friend, Annamaria Trombetta, that | tumed to when | needad to create the Holistic

Baby logo image. She was able to manifest ny idea inte a...

Annamarie Trombetta | Biography | Poliock Krasner Image Collection

www. pkF-imagecollection.org/artist(Annamario_Trombetta/blography! +

Annamarle Trombetta. Contact Works. CONTACT. Annamaria Trombetta Studio: 775 East 96!" Street
(14P) New York, NY 10128, Phone! Fax: 212-427-8990,

You've visited this page 3 times. Last visit: 15/18

From “Catcher In The Rye” - Hartford Courant
vavw.courant.com/travel/he-catcher007-jpg-20130502-pholo.hitmt = Hartford Gourant -
May 2, 2072 - .,. make people more aware of the role that artists snd vaiters have in the park's
development” New York City artist Annamarle Trombstia paints ..

Marilyn Monroe 1988 Vintage Michael Ochs Archive Chanel Pertume ...
wwyeworthpoint.com > Worthopedia™ ~ i

. Blue Hella Kitly Obey Giant Shepard Fairey Signed & Numbered Rare Print - Handmade Naw
Mexican Falk Art Church Birdhouse LARGE Lark Sedona ...

You've visited this page many times. Last visit 1446

Flickr: Annamarie Trombetia

hitos:/Avwweflickr.com/people/annamaristrombettaart/

Realist Professional Fine Artist ... Annamarie Trombetta hasn't listed any contacts yet. Testimoniats
(0). Annamarie Trombetta doesn't have any testimonials yet

Sing for Hope — CBS New York

newyork.coslocal.comiag/sing-for-hope/feed/ + WOES-TY >

“Those pianos sre afl painted by volunteer artists,” Vitlak sald, .... Annamaria Trombetta works on her
design fora public plano - New York, NY = Jun 7, 2071 ...

rorl* AF Newsletter 2009 - Artists’ Fellowship, Inc.
wav.artistsfeliowship.org/AFNewsletter2010.pdf +

Sep 22, 2070 - Our Artists’ Fellowship Annual Aviards Dinner will again feature a silent auction
Including the work of .... Annamarie Trombetta, Babette Bloch ...

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zpla-fime.net/article.asp7id=41902 +

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Kamille Corry, Tony Pro, and Annamarle Trombetta

A Portrait of ‘Portrait Of the Artist, Running’ - The New York Sun

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Apr 29, 2005 - Part of the bewitching power of the painting "Portrait of the Artist, Running"... Others
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Yahoo Mail - Fw: Limited Time Offer - WorthPoint is accepting investments! 8/10/20, 9:10 AM

Plaintiff 000059

  
 

     

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From: WorthPoint <equity@worthpoint. com> i :
To: trombettaart@yahoo.com * ak piso ues .

Sent: Wednesday, November 23, 2016 11:21AM — [
Subject: Limited Time Offer - MSHS Ont is accepting inveationts? es

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REGULATION CF CAMPAIGN IS LIVE :
WorthPoint Corp is now accepting investments

 

Hello ,

On Monday, we announced the launch of our Title Ill Regulation Crowdfunding campaign,
which allows accredited and non-accredited investors the chance to purchase stock in our
company. WorthPoint is seeking to raise $1,000,000 in this offering through Regulation
CF, with a minimum raise of $100,000. This opportunity is available for a limited time with a
minimum investment of $100.

To learn more and make an invesiment, please visit the campaign page by clicking the link
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Case 1:18-cv-00993-LTS-SLC Document 504-2 Filed 06/14/23 Page 16 of 30

Yahoo Mail - The day has come -- WorthPoint launches Reg A+ *Mini-IPO” 7/28/20, 6:36 AK

Plaintiff 000060

The day has come -- WorthPoint launches Reg A+ “Mini-IPO”

From: WorthPoint (equity@worthpoint.com)
To: trombettaart@yahoo.com
Date: Tuesday, January 31, 2017, 12:04 PM EST

 

Secure your investments on our wabsite, View this eral in your browser

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After several months of Testing the Waters in order to gauge interest from potential investors, we
are beyond excited to announce that WorthPoint's offering statement has been qualified by the
SEC and WorthPoint is now able to accept investrnents in a Regulation A+ offering. The stock
offering is taking place on WorthPaint’s website, and the chance to own a piece of WorthPoint is
available to everyone -- accredited and non-accredited investors alike.

As some of you may know, WorthPoint recently undertook a different crowdiunding round under
Regulation Crowdfunding. Upon being qualified by the SEC, we decided to terminate that round
early in favor of this larger Regulation A+ round, which allows for more flexible investment options
both for you as an investor and WorthPoint as a company.

WorthPoint offers the world’s largest resource for identifying, researching, and valuing antiques,
art, and vintage colleciibles using disruptive technology. As a first mover, WorthPoint has built an

irreplaceable database and a proven, scalable business model. --—~ Y

The wait is over. We look forward fo your investment. \
Make your mark with WorthPoint today.

 

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To: trombettaart@ yahoo.com;

 

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Annamarie Trombetta ~ Artist Info
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Plaintiff 000021

Re: Welcome to WorthPoint - Your Subscription Has Been Created

Fromm: Annarnarie Trombetta (trombetlaart@yahoo.cam)
To: = supporl@worthpoint.com
Date; Friday, January 22, 2016, 2:25 PM EST

To The Worthpoint Staff,

LE NGHYB Tp

I found this link to Worthpoint under Artist Annamarie Trombetta, The link 1972 is associated with several of my personal and profession: |
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1)Who is responsible for posing "1972 Original Oil Painting man with Red Umbrella signed Annamarle Trombetta” information o1

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2)Can I have the name of the person who is the Worthpoint webmaster??

3)Can I have the name of the person who posted this information?

4) Who was the sellerP? I called eBay and they do not have the information? Does Worthpoint have this information??
5) Please confirm if your website was last update on Updets! fate: 20-apr-2013--see below

6) Why do you state that there are are 12 photos in the description. Below is the text that is on the page for this painting.

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7) Kindly forward any information that you have regarding this painting .

Thankyou for your anticipated cooperation.
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1972 Original Oil Painting Man With Red Umbrella Signed ...
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$181.50

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Case 1:18-cv-00993-ETS-SLC Document 504-2 Filed 06/14/23 Page 28 of 30
Yahoo Mail - Fw: Welcome to WorthPoint - Your Subscription Has Been Created Plaintiff poovEe 8/10/20, 9:14 AM

Fw: Welcome to WorthPoint « Your Subscription Has Been Created

Frome Annamarie Trombetts (rornbettaari@yahoo.com) sido

ie Neate fee a ak ()

Date: Manday, January 25, 2016, 06:33 PM EST

MEST ren
ie
Within this mail are several questions that I am requesting are answered as soon as possible. aon
I sent this to you on Friday January 22, 2016. as i
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To The Worthpoint Staff,
I found this link to Worthpoint under Artist Annamarie Trombetta. The link 1972 is associated with several of my personal and professional links. I signed on to Worthpoiat t
painting. The worth is $181.50 . See below

1)Who is responsible for posing "1972 Original Oil Painting man with Red Umbrella signed Annamaric ‘lrombetta" information on Worthpoint.com website 7?
2)Can I have the name of the person who is the Worthpoint webmaster??
3)Can I have the name of the person who posted this information?
4) Who was the seller?? I called eBay and they do not have the information? Does Worthpoint have this information??
5) Please confirm if your website was last update on Updated Date: 30-apr-2013--se2 below
6) Why do you state ‘that there are are 12 photos in the description, Below is the text that is on the page for this painting, I only seea photo ofa signature — --sce belon
7) Kindly forward any information that you have regarding this painting .
Thankyou for your anticipated cooperation.
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the style at Andre Koln,

1972 Original Oil Painting Man With Red Umbrella Signed ...

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1972 Original Oil Painting Man With Red Umbrella Signed Annamarie Trombetta yaz
Sold for, Start Free Trial or Sign In to see what it's worth. tem Category: ...

On Friday, January 22, 2016 2:27 PM. WorhPoint Customer Svpporl <suppeet@worthpoint desk-mail.com> wrote:

 

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WorthPoint | Jan 22, 2016 02:28PM EST
Thank you for submitting your request. We have received your request and are working on responding to you as soon as possible. If you have any additional
ta this case, please reply to this email.

 

Thanks in advance for your patience and support.

     
 

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Plaintiff: 209925. cv-00993-[ Pare Oe Hoar eA BOT a FSS Vea Pes Ba ge 29 of 30

Re: Fw: Welcome ta WorthPoint - Your Subscription Has Been Created

From: Annamaria Trombetta (trombettaart@yahoo.com)

To: support@worthpoint.desl-mall.cam ; hfe
Date: Friday, January 29, 2016, 4:88 PM EST

Thave contacted Worthpoint by phone and spoke with Anita on Friday January 22nd. I sent e-mails three times with a host of questio:

found under my name.
lam requesting answers to the questions listed below.

Sincerely,
Annamarie Trombetta

Ticket #56607:

Within this e-mail are several questions that | am requesting are answered as soon as possible,
T sent this to you on Friday January 22, 2016.

To The Worthpoint Staff,
I found this link to Worthpoint under Artist Annamarie Trombetta. The link 1972 is associated with several of my personal and profession:
Worthpoint to see the value of this painting, The worth is $181.50 . See below

1)Who is responsible for posing "1972 Original Oil Painting man with Red Umbrella signed Annamarie Trombetta" information o1

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6) Why do you state that there arc are 12 photos in the description. Below is the text that is on the page for this painting, I only

signature --see below

7) Kindly forward any information that you have regarding this painting .

Thankyou for your anticipated cooperation.

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the style of Andre Kohn.

  

1972 Original Oil Painting Man With Red Umbrella Signed ...

waw.worthpoint com> Worthapedia™ *

1972 Original Oil Painting Man With Red Umbrotla Signed Anaamarie Trombatta yqz
Sold for: Stan Free Trial or Sign in to see what i's worth, Item Category

On Monday, January 25, 2016 6:24 PM, VWworthPoint Customer Support <suppondinverthpointdesk-mail.com= wrote:

WorthPoint | Jan 25, 2016 06-43PKM EST

Thank you for submitting your request. We have received your request and are working on responding to you as soon as possible. If you have any addi
to this case, please reply to this email,

Thanks in advance for your patience and support.

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Case 1:18-cv-00993-LTS-SLC Document 504-2 Filed 06/14/23 Page 30 of 30

1102020 Yahoo Mail - Fw: Fw: To Gregg or Anita

  
 
 

Plaintiff 000027

Fi: Fw: To Gregg or Anita

Thave been forwarding this e-mai! with questions to you since January 22nd. [| am trying to find out some information regarding a paintir
Worthpoint.com

Within this e-mail are several questions that | am requesting are answered as soon as possible.
I sent this to you on Friday January 22, 2016,

To The Warthpoint Staff,
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On Friday, January 29, 2016 5:00 PM, WorlhPoint Customer Support <supportgworlhpelnidesk-mall.cam> wrote:

Ticket #56607: Re: Welcome to WorthPoint - Your Subscription Has Been Create

WorthPoint | Jan 29, 2016 04:69PM EST

Thank you for submitting your request. We have received your request and are working on responding to you as soon as possible. If you have any addi
to this case, please reply to this email. 1

Thanks In advance for your patience and support.

This message was sent te lambettaztdyahaa com in reference tp Case S007

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